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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

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UNITED S'I`ATES OF AMERICA, (.)%/{ (<:Lz Q
Plaintiff CRIMINAL NO. wC\A\SLZ'Z"
ORDER

RELEASING MATERIAL WITNESS

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Booking No.
Defendant(s) ,
,. '.$
§§
On order of the United States District/W, Leo §;Papa§

IT IS HEREBY ORDERED that the following named person heretofore

committed to the custody of the United States Marshal as a material __\Witness be

released from custody: (Bond Posted / Case Disposed @der“\ offolirw
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§§ § \%§ t\\;€§ §§§\`<` §§ §\t \'§v §\;>,

DATED; Q) j jj to

Leo S. Papas
UNITED STATES DISTRICT/MAGISTRATE JUDGE

 

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w. bs,¢tMUEL HAMRICK, m clerk

§§ §§(\§;;#f; 6

§§\§ eputy Clerk
J. JARABEK

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